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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 GENERAL MOTORS LLC,
 GENERAL MOTORS COMPANY,                          Case No. 19-cv-13429

                   Plaintiffs,                    Paul D. Borman
 v.                                               United States District Judge

 FCA US LLC, FIAT CHRYSLER                        David R. Grand
 AUTOMOBILES N.V., ALPHONS                        United States Magistrate Judge
 IACOBELLI, JEROME DURDEN,
 MICHAEL BROWN,

                Defendants.
 ______________________________/


                AMENDED ORDER REQUIRING RESPONSE

The following document has been filed:

Motion to Amend/Correct − #84

IT IS HEREBY ORDERED, pursuant to Eastern District of Michigan Local Rule

59.1, that Defendants shall file a response to the above document on or before

August 10, 2020. The response shall be filed in accordance with E.D. Mich. L.R.

7.1(d)(2-3).

IT IS SO ORDERED.



Dated: August 3, 2020                     s/Paul D. Borman
                                          Paul D. Borman
                                          United States District Judge
